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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

 PSARA ENERGY, LTD.                             CIVIL ACTION

 VERSUS                                         NUMBER: 18-04111

 SPACE SHIPPING, LTD.; GEDEN                    SECTION "B" (2)
 HOLDINGS LTD.; ADVANTAGE START
 SHIPPING, LLC; GENEL DENIZCILIK                JUDGE LEMELLE
 NAKLIYATI A.S. A/K/A GEDEN
                                                MAGISTRATE WILKINSON
 LINES; ADVANTAGE TANKERS, LLC;
 ADVANTAGE HOLDINGS, LLC;
 FORWARD HOLDINGS, LLC; MEHMET
 EMIN KARAMEHMET; GULSUN NAZLI
 KARAMEHMET – WILLIAMS; and
 TUĞRUL TOKGÖZ


                       MEMORANDUM IN RESPONSE TO
                EMERGENCY MOTION FOR CONTINUANCE (DOC. 18)

MAY IT PLEASE THE COURT:

         Defendant Advantage Start Shipping, LLC takes this opportunity to reply

to the purported evidence recently submitted by the Plaintiff on towage costs

(that being the only matter on which the Court invited further comment).       This

purported evidence was contained in Plaintiff’s Emergency Motion for

Continuance of Rule E(4)(F) Hearing (Doc. 18).

1.       Towage costs were in fact considered in Texas. The Court ruled that the

         Plaintiff had failed to submit satisfactory evidence (the burden being on

         the Plaintiff to do so). The Plaintiff had not requested an adjournment to

         enable it to submit such evidence and did not make the excuses it now

         makes for not having provided such evidence. The Texas Court accordingly

         ruled that no allowance should be given in respect of towage costs. As with



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         any case involving a ruling on the evidence, it is not open to the

         disappointed party to make good its own failure to provide evidence at the

         requisite time by seeking to re-litigate the same point before another court

         or to seek to introduce further evidence before that court. To allow a

         Plaintiff to take multiple bites at the apple is wrong in law and unfair on

         the Defendant who should not be vexed with the same issue more than

         once. The Plaintiff’s recourse, if any, is to appeal or seek reconsideration

         of the Texas decision.

2.        In considering whether to allow further evidence from the Plaintiff on

         towage costs, the Court should, in the exercise of its discretion, have

         regard to the Plaintiff’s conduct:

         a.     Plaintiff did not advise the Texas court or this Court that a previous
                claim based on largely the same factual allegations was dismissed
                on the merits and an attachment was vacated by the Southern
                District of Houston in 2016.

         b.     Plaintiff came to this court on Monday, May 14, 2018, claiming it
                needed additional time to produce evidence on towage costs to India.
                When that motion was not granted, plaintiff suddenly
                (“coincidentally”) produced an estimate of towage costs that it had
                obtained some days earlier on May 10 but which it had withheld
                from the Court and the Defendants. This is additional clear evidence
                that plaintiff is not pursuing these claims in good faith, but is
                instead omitting facts in its filings, exaggerating its claims, and
                attempting to delay the release of the Defendant’s vessels for as long
                as possible

         c.      Plaintiff grossly exaggerated its figures:

                i.    First, the plaintiff filed a Complaint asserting a completely
                      unsupportable claim for $19 million.

                ii.   Second, Plaintiff argued in Texas that the vessel had a
                      repaired value of $18 million based on the opinion of a London
                      barrister.   The Texas court found this contained only



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                       unsupported “bald assertions” without any underlying facts
                       in support.

                iii.   Plaintiff also produced a valuation letter, which the Texas
                       court skeptically noted was “by coincidence” produced after
                       the barrister’s opinion for the exact same $18 million amount.

                iv.    Yet the Texas Court concluded that the Plaintiff’s fairly stated
                       claim was only $2.6 million.

3.       If in spite of the above, the Court is inclined to allow the Plaintiff to adduce

         further evidence on the towage cost, it should still not require the

         Defendant to put up further security, or at least should substantially

         reduce the security that it might otherwise order for the following reasons:

         a.     In all likelihood, such costs will never be incurred. Defendant has
                carefully considered why an estimate of towage costs was not
                obtained until May 10, despite plaintiff having many weeks to
                prepare its claim and gather evidence in support. The most probable
                explanation is that the plaintiff did not consider that it would ever
                incur towage costs. Defendant believes that plaintiff has already
                claimed that the vessel is a constructive total loss (“CTL”) since
                repairs will exceed the fair market value of the vessel requiring the
                hull underwriters to pay the insured value to the plaintiff. This is
                also the most likely reason for the vessel not having moved from
                Trinidad since February.

                Under the terms of the charter parties and insurance agreements,
                Defendant is a joint or co-insured under the hull policies and the
                hull underwriters will be precluded from filing a subrogation claim
                against Defendant.

                This is not a situation where the insurance is a collateral source. As
                a part of the charter agreement and the charter hire paid by
                defendant to plaintiff, defendant was included as a co-assured
                under the policy and has the right to benefit from the insurance
                policy.

         b.     As previously noted, the Texas Court ultimately decided that the
                plaintiff’s claim, excluding towage costs, was only in the range of
                $2.6 million. While the court did not include a specific amount for
                towage (but only because Plaintiff had failed to provide evidence of




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                same), the court allowed a generous security cushion of $1.4 million
                above the claim “as fairly stated.”

         c.     Defendant in the limited time since the May 15 hearing has not been
                able to obtain its own estimate of towage costs. However, defendant
                urgently needs its vessel released and therefore needs a
                determination from the Court now notwithstanding that it has been
                prejudiced by the Plaintiff’s conduct.

           For the above reasons, including plaintiff’s unclean hands, their constant

exaggeration of the value of their claim, and the $1.4 million cushion allowed by

the Texas court, this Court should release the vessel without requiring further

security to be provided.

         Alternatively, and only given the massive losses being suffered due to the

detention of the vessel, no more than an additional $800,000 to $1 million in

security, above the $1.4 million cushion should be ordered, which more than

adequately secures the claim for towage costs during the spring/summer.

                                            Respectfully submitted,

                                            PHELPS DUNBAR LLP


                                            BY:    s/ Kevin J. LaVie
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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 16th day of May, 2018, I electronically filed

the foregoing pleading with the Clerk of Court by using the CM/ECF system

which will send a notice of electronic filing to all counsel who are CM/ECF

participants.



                                          s/ Kevin J. LaVie
                                          KEVIN J. LAVIE




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